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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF UTAH, CENTRAL DIVISION

J THOMPSON, et al., Individually and on      )   No. 2:16-cv-01183
Behalf of All Others Similarly Situated,     )
                                             )   CLASS ACTION
                               Plaintiffs,   )
                                             )   Honorable Judge Tena Campbell
        vs.                                  )
                                             )   Honorable Magistrate Judge Dustin B. Pead
1-800 CONTACTS, INC., et al.,                )
                                             )   PLAINTIFFS’ STATUS REPORT
                               Defendants.   )
                                             )




1463708_1
        The Court requested that plaintiffs file a status report by August 20, 2018, prior to the status

conference scheduled for August 22, 2018. ECF No. 173 at 2. Plaintiffs hereby submit this filing in

response to the Court’s directive to plaintiffs to report on the results of the parties’ efforts to meet

and confer regarding the four discovery-related items identified in the Court’s August 9, 2018 order.

Plaintiffs request that the Court hold a conference, as currently scheduled, for August 22, 2018 at

2:00 p.m. to consider issues regarding the production of transactional data.

I.      The Terms of a Protective Order

        The parties have been able to reach agreement on all provisions of a proposed protective

order, except one. That provision concerns whether there should be a procedure for a defendant to

disclose sensitive information to plaintiffs without having to disclose the same information to its co-

defendants. Defendants are attempting to reach an agreement on this issue. Plaintiffs’ concern is

simply to ensure that defendants will not block or defer production of relevant competitively

sensitive information because they do not want their competitors to be able to view this information.

        Plaintiffs propose that the parties be given until August 24, 2018 to complete their

negotiations and file an updated status report with the Court. If the parties have not agreed by then

on the unresolved issue concerning the proposed protective order, plaintiffs propose that each side

submit by August 28, 2018 a proposed order with its suggested language on the disputed provision

in redline and a two-page letter brief setting forth the party’s position on the disputed issue, which

will then by ripe for resolution by the Court.




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II.     The Timing of Each Defendant’s Respective Production of Materials from
        the FTC Action

        1-800 Contacts
        On August 20, 2018, 1-800 produced to plaintiffs the documents that it produced to the

government in the FTC action and also produced transcripts of investigational hearing and

deposition testimony by current and former 1-800 Contacts employees and agents, exhibits to those

depositions and investigational hearings, written discovery, and a public version of the trial

transcript.

        1-800 is currently reviewing certain of the documents produced in the FTC action by third

parties and transcripts to determine if either contain information designated as confidential by third

parties in the FTC action. To the extent these materials contain confidential information, 1-800

believes it is required to follow the procedure required by the protective order entered in the FTC

action before producing these materials in this action. As required by the protective order in the

FTC action, 1-800 intends to provide written notice to third-parties in that action of plaintiffs’

request for confidential materials in this matter.

        Walgreens/Vision Direct
        Walgreens and Vision Direct produced on August 20, 2018 the documents that they produced

to the government in the FTC action and the depositions or investigational transcript(s) of their

witness(es) who testified in that action.

        Luxottica
        Luxottica has represented that it will produce its FTC materials no later than August 31,

2018.




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III.    The Accessibility of Transactional Data

        1-800 Contacts
        The parties are in active negotiation about the available data fields and the various

repositories that contain 1-800’s transactional data. 1-800 has provided a list of fields that are (and

are not) available, and the parties are continuing to confer regarding those fields. The parties have

agreed that 1-800 will provide plaintiffs a transactional data sample, which plaintiffs will evaluate to

determine if the form and scope of the data is acceptable. 1-800 has said it can produce its

transactional data by September 28, 2018, as plaintiffs requested.

        Walgreens
        Limited progress has been made regarding Vision Direct and Walgreens’ production of

transactional data. Walgreens has indicated that it believes it has some of the requested information

dating back to 2009, and has provided plaintiffs with some information about some of the available

fields. Walgreens is still investigating the availability of other fields requested by plaintiffs and still

has not provided plaintiffs with enough information about the accessibility and availability of the

data for the parties to move forward. Vision Direct first told plaintiffs on August 20, 2018 that it has

responsive data and the data goes back to 2004. At the same time, Vision Direct also provided

plaintiffs with some information about available fields but that information is still incomplete, and

again, does not suffice to enable the parties to move forward. Neither Walgreens nor Vision Direct

indicated when they will have information regarding the other fields plaintiffs requested.

        Vision Direct and Walgreens have indicated that they are working in good faith to meet the

September 28, 2018 deadline proposed by plaintiffs but are unable to estimate when the production

might begin (or might be completed), and how long it will take to run the query and collect and

produce the data once the parties agree on what needs to be collected.

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        Luxottica
        Luxottica has confirmed that it has a number of the data fields sought by plaintiffs and is

continuing to investigate several of plaintiffs’ questions about the content of certain data fields.

Luxottica is also still investigating whether it has data back to 2004, when the class period begins.

Without this information, the parties are unable to complete their discussions on what fields will be

produced and progress to the next stage, where a sample of the data will be produced.

IV.     Summary of Status of Production Transaction Data

        1-800 has represented that it should be able to meet a September 28, 2018 deadline for

production of its transactional data.

        Given the limited progress made since the hearing on July 26, 2018, plaintiffs are deeply

concerned about Vision Direct/Walgreens’ and Luxottica’s ability to produce their transactional data

with sufficient time for plaintiffs and their experts to evaluate, scrub, and analyze the data prior to

filing class certification papers. Although it has been more than three weeks since the hearing and

more than one-and-a-half months since plaintiffs served their discovery requests, neither defendant

can represent that it will be complete the data production by the end of September or even state when

it will be in a position to do so. Luxottica has estimated that it will take approximately one month to

pull the data once the parties agree on the fields to be produced, and it may be weeks before that

process can begin. As for Vision Direct and Walgreens, they are still gathering preliminary

information about their data fields, and while they say they are working in good faith to meet a

September 28, 2018 deadline, the parties have yet to begin the back-and-forth necessary to

understand what transactional data Vision Direct and Walgreens have and which fields from that

data plaintiffs need.



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        Unless Vision Direct/Walgreens and Luxottica ramp up their investigations, it appears

unlikely that plaintiffs will receive the transactional data by the end of September. Any delay

substantially beyond end of September may prejudice plaintiffs’ ability to prepare their class

certification papers under the schedule established by the Court less than two weeks ago.

Walgreens, which is now the parent company of Vision Direct, and Luxottica are both large

companies with significant resources, which should be able to meet a September 28, 2018

production deadline if they devote the requisite resources to the task. Accordingly, plaintiffs intend

to ask at the August 22, 2018 hearing that Walgreens and Luxottica be ordered to provide all of the

data field-related information plaintiffs have requested by August 31, 2018, and further be ordered to

substantially complete their data production by September 28, 2018.

V.      ESI Protocol

        The parties have reached an agreement regarding a protocol governing the parties’

production of electronically stored information. The parties’ agreement is attached as Exhibit A.

DATED: August 20, 2018                       Respectfully submitted,

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                                              & DOWD LLP
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                                             BRIAN O. O’MARA
                                             STEVEN M. JODLOWSKI (Admitted Pro Hac Vice)


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1463708_1
DATED: August 20, 2018   BOIES SCHILLER FLEXNER LLP
                         CARL GOLDFARB (Admitted Pro Hac Vice)


                                           s/ Carl Goldfarb
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                             (Signed by Filing Attorney with permission.)

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                         Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE
        I hereby certify under penalty of perjury that on August 20, 2018, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ David W. Mitchell
                                                    DAVID W. MITCHELL

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NOPÿRSTTSUVWXÿYZPÿ[OS\PÿUOSÿYZPÿ]^ZZPW[T_ÿSWÿ[OPÿTV\[ÿ[SÿZP]PV`PÿPabYVTÿWS[V]P\ÿRSZÿ[OV\ÿ]Y\Pc
      d81138eÿ6IÿE*-fÿ
      ghYWijU\XZc]SbkYXPZV[YWSjU\XZc]SbkTYTbPVlYjU\XZc]Sb
      m58?8-ÿnIÿE83.4*-ÿ
      \[P`PWahPZXbYWjZhbWc]SbkTYlSWWYaUOPT]OPTjZhbWc]SbkVWRSjhPZXbYWP\oc]Sb
      D23-ÿE+7G2Hÿ
      lhjbYZiOYbTYURVZbc]SbkiVbjlSZWhV\OSpTYUc]Sb
      q,e>+*ÿLIÿE32rÿ
      YWhZSsj`SZ_\c]Sb
      tu-5*,ÿ6G2,83*ÿ
      i]OSTPZYj]S`c]Sb
      v2w835ÿmIÿ6,*3fÿ
      Z]TYZijpYZZhZSUWc]Sbk]YTPWlYZjpYZZhZSUWc]SbkYRS^[sjpYZZhZSUWc]Sb
      du75+-ÿqIÿ62G8-ÿ
      g]SOPWjU\XZc]Sb
      v2w835ÿ)Iÿ623Hÿ
      Z]SZpjU\XZc]SbkYXPZV[YWSjU\XZc]Sb
      d833eÿvIÿD8m+x83*52ÿ
      glP\VlPZY[SjlVTUSZ[OTYUc]Sbk`b]iPYXPjlVTUSZ[OTYUc]Sb
      Ce,83ÿq--8ÿD8?83ÿ
      [_TPZalP`PZjZhbWc]SbkTYlSWWYaUOPT]OPTjZhbWc]Sb
      d*72-ÿK,+*783ÿ
      gPjbYZiOYbTYURVZbc]Sb
      m>255ÿKIÿy*-5ÿ
      \XYW[jh\RTTpc]Sb
      6*3,ÿKIÿy2,x1*3wÿ
      ]XSTlRYZhjh\RTTpc]SbkiZPWYPjh\RTTpc]Sbkb]YT`VWjh\RTTpc]SbkOXZPPWjh\RTTpc]Sb
      v+>G*3xÿ)Iÿy2,24wÿ
      ZXSTSbhjXSTSbhOSWVic]SbkPbYTTS_jXSTSbhOSWVicz{b
      t8--85GÿdIÿy3u-18,xÿ
      iXZ^WRPTljXSTSbhOSWVic]SbkPbYTTS_jXSTSbhOSWVicz{b
      v2w835ÿFIÿn*33+-.52-ÿ
      ZOYZZVWX[SWjZoWc]SbkgP`YW\jZoWc]SbklS]iP[jZoWc]Sb
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        DE,F,3ÿ)GÿH/IJ/KL+*ÿ
        <M:@N:O<658>P>@N?OC9:4Q?67NNR8>P>@N?OC9:4Q7ST5N7S<@8>P>@N?OC9:4
        UVEW*1+ÿXGÿH/23L/3ÿ
        YM:Z;<:;89:Z;765;PZ:>;C9:4QM@?;;7;4=7NN7>89:Z;765;PZ:>;C9:4Q4<5;789:Z;765;PZ:>;C9:4
        [L2J,\ÿ]Gÿ^V_JV3ÿ
        ?<ZN7RC6?YN?;84B:C9:4
        `2/aVLÿbÿ^VWW,3c,Wdÿ
        B6?>>7;e7>P8?6N?OT5>4C9:4Q>@:@P78?6N?OT5>4C9:4
        HVL/3ÿ)Gÿ^,WWÿ
        M?<:;67>>8YY6B>5?NC9:4QM:Z;<;:O8YY6B>5?NC9:4Q7N5f?e7BZCYZ7NY<g
        >:ee5;<8YY6B>5?NC9:4Q<B7A7;CP?>TT8YY6B>5?NC9:4Q?;P7N?M:Z;<:;8YY6B>5?NC9:4
        [3IW,KÿhVi,W/Kÿ
        ?N?f7>:O89:AC9:4
        j*JJ*Vaÿ[Gÿ)VW+2Vaÿ
        O484?>6Z?4N?OT5>4C9:4QN?84?>6Z?4N?OT5>4C9:4Q??84?>6Z?4N?OT5>4C9:4
        b/3VJIÿ)VWW/3ÿ
        >:;C4?>>:;8P4?5NC9:4Q79T89:;<=47><?@A:9?B7<C9:4
        ]VF*IÿjGÿ)*E12,JJÿ
        @?A5@48>P>@N?OC9:4Q96:Y6:8>P>@N?OC9:4
        UV0Jÿ`Gÿ)/kJ,\ÿ
        Y4:lN7R89:Z;765;PZ:>;C9:4Q4<5;789:Z;765;PZ:>;C9:4Q497>=BB589:Z;765;PZ:>;C9:4
        DVWVÿ)Gÿm*,JL/3ÿ
        <;57N<:;8Y?>>e>:O;C9:4Q?9:?B<8Y?>>e>:O;C9:4Q9?N7;@?>8Y?>>e>:O;C9:4
        n20JÿUV+ÿ
        9Y?68O<P>C9:4Q?P7>5B?;:8O<P>C9:4
        b,c,11Vÿ[GÿU,E,WL/3ÿ
        >?Y7B7><:;8N:96N?OC9:4QeP5NN7<8N:96N?OC9:4
        H0LE*3ÿUGÿbV_2V,Jÿ
        M=<B5;C>?YZ?7N84B:C9:4Q4?>6C>:e7>B<84B:C9:4
        [aV3IVÿ)1)0WWV\ÿb/,ÿ
        ?4>:78A:>R<C9:4
        ^,33,E2ÿHGÿb0c*3ÿ
        6M>=e5;8A:>R<C9:4
        HVW,Iÿ]GÿD1/EEÿ
        M<9:BB8?6N?OT5>4C9:4Q6>=e5;:8?6N?OT5>4C9:4
        b/c,WEÿ^GÿD2,Jo0*LEÿ
        >6<Z7Np=5<B8N:96N?OC9:4Q6MN7>:R8N:96N?OC9:4QeP5NN7<8N:96N?OC9:4
        b/2*Eÿ^0aVWÿD*3dJVÿ
        >:Z5BC<5;PN?84B:C9:4Q@:N:>7<C>7R7<84B:C9:4
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        J+KL4ÿM1ÿ2,+35N-ÿ
        :7O=8;F6<P;?;DI6;8B>EF;DG9D=??;Q<P;?;DI6;8B>EF;D
        2+RS*TÿU1ÿ2,.+LV-,ÿ
        77OC=BP6O<CW8EF;DGI79=C7<CW8EF;DG:;F>9O<CW8EF;D
        X+.+ÿY1ÿ2Z*3[*3ÿ
        ?7@98798<6\:?=@EF;DG=:DB8B7OC=O;C<6\:?=@EF;D
        M5[-S+ÿJ1ÿ]5T[53ÿ
        \@;?7;8<:B?@;CO6?=@EF;DG\=I9:<:B?@;CO6?=@EF;D
        0*TL[[+ÿ^*T4*.ÿ_+``+T+ÿ
        Da=bb=?=<I7A??bEF;D
0+3S+Tÿc5,LN*ÿXL[,
d69ÿA;??;@B8PÿB7ÿO69ÿ?B7Oÿ;Aÿ=OO;C89Q7ÿ@6;ÿ=C9ÿ35,ÿ;8ÿO69ÿ?B7OÿO;ÿC9F9Bf9ÿ9gD=B?ÿ8;OBF97ÿA;CÿO6B7ÿF=79ÿh@6;ÿO69C9A;C9ÿC9WHBC9
D=8H=?ÿ8;OBFB8PiEÿj;HÿD=Qÿ@B76ÿO;ÿH79ÿQ;HCÿD;H79ÿO;ÿ79?9FOÿ=8:ÿF;bQÿO6B7ÿ?B7OÿB8O;ÿQ;HCÿ@;C:ÿbC;F977B8PÿbC;PC=DÿB8ÿ;C:9C
O;ÿFC9=O9ÿ8;OBF97ÿ;Cÿ?=I9?7ÿA;CÿO6979ÿC9FBbB98O7E
    klmÿopqrpsÿtuvwxwuqyz{
U5RR+ÿ4*TLRL,*4ÿTL[,ÿ5|ÿ*R+LTÿ+44.*[[*[ÿ,-+,ÿR+}ÿ~*ÿS[*4ÿ|5.ÿN5`}L3Vÿ+34ÿ`+[,L3VÿL3,5ÿ}5S.ÿ5Z3ÿ*R+LTÿ`.5V.+Rÿ
\I=8><@7PCEF;DG=P9CBO=8;<@7PCEF;DG?=?D9B:=<@7PCEF;DG7O9f98gI9CPD=8<CID8EF;DGÿ
?=:;88=g@69?F69?<CID8EF;DGB8A;<I9CPD=897WEF;DG:I<D=C>6=D?=@ABCDEF;DG>BD<:;C8IB76;b?=@EF;DGÿ
=8IC;a<f;CQ7EF;DG>F6;?9C=<F;fEF;DGCF?=C><b=CCIC;@8EF;DGF=?98:=C<b=CCIC;@8EF;DGÿ
=A;HOa<b=CCIC;@8EF;DG\F;698<@7PCEF;DGCF;Cb<@7PCEF;DG\:97B:9C=O;<:B?@;CO6?=@EF;DGÿ
fDF>9=P9<:B?@;CO6?=@EF;DGOQ?9Cg:9f9C<CID8EF;DG\9<D=C>6=D?=@ABCDEF;DG7P=8O<I7A??bEF;DGÿ
FP;?:A=CI<I7A??bEF;DG>C98=9<I7A??bEF;DGDF=?fB8<I7A??bEF;DG6PC998<I7A??bEF;DGÿ
CP;?;DI<P;?;DI6;8B>EF;DG9D=??;Q<P;?;DI6;8B>EDG>PCH8A9?:<P;?;DI6;8B>EF;DGC6=CCB8PO;8<CW8EF;DGÿ
\9f=87<CW8EF;DG:;F>9O<CW8EF;DGI6=OF6<6\:?=@EF;DGIC98O6=OF6<PD=B?EF;DGÿ
=:DB8B7OC=O;C<6\:?=@EF;DGDB>9<F;87HD9C7=:f;F=O97EF;DG7\;:?;@7>B<CPC:?=@EF;DG=>9??Q<CPC:?=@EF;DGÿ
9AB?97:<CPC:?=@EF;DGb\;687;8<F;689>B8P6;C8EF;DG\:=8898DH9??9C<F;689>B8P6;C8EF;DGD7B89<F;689>B8P6;C8EF;DGÿ
=76?9QE>=b?=8<DO;EF;DGO>=CC98I9CP<=>?=@ABCDEF;DGC:;:P9<=>?=@ABCDEF;DG\=7;8>9CC<bb>OCB=?EF;DG
\;6878;@<bb>OCB=?EF;DG9?Ba=I9O6Eb69?b7gC;IIB87<bb>OCB=?EF;DG7O9f98EP=CAA<bb>OCB=?EF;DG=8P9?=\;687;ÿ8<bb>OCB=?EF;DGÿ
=?=a9C;@<F;fEF;DG@D<D=C>6=D?=@ABCDEF;DG?=<D=C>6=D?=@ABCDEF;DG==<D=C>6=D?=@ABCDEF;DG
C;8ED=CC;8<PD=B?EF;DG9FA<F;87HD9C7=:f;F=O97EF;DG:=fB:D<CPC:?=@EF;DGF>;b>;<CPC:?=@EF;DGÿÿ
bD;?9Q<F;689>B8P6;C8EF;DGDF9CHOOB<F;689>B8P6;C8EF;DG78B9?7;8<b=CCIC;@8EF;DG=F;=O7<b=CCIC;@8EF;DGÿ
Fb=><@7PCEF;DGC=b9O9C7;8<?;F>?=@EF;DGIPB??97<?;F>?=@EF;DG\H7OB8EC=b6=9?<DO;EF;DG
D=C>EC;I9CO7<DO;EF;DG=DC;9<f;CQ7EF;DG>\CHIB8<f;CQ7EF;DG\7F;OO<=>?=@ABCDEF;DGÿÿ
>CHIB8;<=>?=@ABCDEF;DGC>769?WHB7O<?;F>?=@EF;DG>\?9C;Q<?;F>?=@EF;DGC;6BOE7B8P?=<DO;EF;DGÿ
:;?;C97EC9Q97<DO;EF;DG6789::;8<=>?=@ABCDEF;DG:7O=8;F6<P;?;DI6;8B>EF;DG9D=??;Q<P;?;DI6;8B>EF;DGÿ
77OC=BP6O<CW8EF;DGI79=C7<CW8EF;DG?7@98798<6\:?=@EF;DG\@;?7;8<:B?@;CO6?=@EF;DGÿ
\=I9:<:B?@;CO6?=@EF;DGDa=bb=?=<I7A??bEF;Dÿ
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